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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 0:24-cv-60382-LEIBOWITZ/AUGUSTIN-BIRCH


  JESSICA PIAFSKY,

          Plaintiff,
  v.

  MB HOME IMPROVEMENTS,
  INC., et al. ,

        Defendants.
  _____________________________/

                       ORDER ON DEFAULT FINAL JUDGMENT PROCEDURE

          THIS CAUSE is before the Court upon the Clerk’s Entry of Default as to Construction Fort

  Lauderdale Inc. dated May 24, 2024. [ECF No. 27]. Upon review of the record, it appears that the

  Defendant Construction Fort Lauderdale Inc., has failed to respond to the Complaint or otherwise

  appear in this action.

          Accordingly, it is ORDERED AND ADJUDGED that Plaintiff must file one of the

  following two responses by December 11, 2024:

          (1)   Where there are no allegations of joint and several liability and no possibility of

  inconsistent liability between Defendants, Plaintiff shall file a motion for default final judgment. The motion

  for default final judgment must include affidavits of any sum certain due by Defendant and any other

  supporting documentation necessary to determine Plaintiff’s measure of damages. The motion shall

  also be accompanied by (1) the necessary affidavit under the Servicemembers Civil Relief Act, 50

  U.S.C. § 3931(b), if applicable; (2) a proposed order; and (3) a proposed final judgment. See S.D. Fla.

  Local Rule 7.1(a)(2)). Pursuant to the CM/ECF Administrative Procedures, the proposed orders shall

  be submitted to the Court by e-mail in Word format at leibowitz@flsd.uscourts.gov. Plaintiff

  shall send a copy of the motion to Defendant’s counsel or to Defendant if it does not have counsel. In
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  the certificate of service, Plaintiff shall indicate that notice was sent and the addresses where notice

  was sent. If Defendant fails to move to set aside the Clerk’s Entry of Default or respond to the motion

  for default final judgment within the time permitted by the Rules, default final judgment may be entered,

  which, simply put, means that Plaintiff may be able to take Defendant’s property or money, and/or

  obtain other relief against Defendant.

          (2) Where there are allegations of joint and several liability, or the possibility of inconsistent

  liability between Defendants, Plaintiff shall file a notice of joint liability. See Frow v. De La Vega, 82 U.S.

  552, 554 (1872); 10A Charles Alan Wright and Arthur R. Miller, FEDERAL PRACTICE AND PROCEDURE

  § 2690 (3d ed. 1998) (citing Frow, 82 U.S. at 554); see also Gulf Coast Fans, Inc. v. Midwest Elecs. Imp., Inc.,

  740 F.2d 1499, 1512 (11th Cir. 1984). The notice of joint liability must briefly describe the allegations

  and advise the Court of the status of the other Defendants’ liability. Once liability is resolved as to all

  Defendants, Plaintiff may move for the entry of default final judgment against Defendant, as described

  in (1) above, no later than 14 days thereafter.

                         *                                *                               *

          Plaintiff’s failure to file for a motion for default final judgment or notice of joint liability within the

  specified time will result in a dismissal without prejudice.

          DONE AND ORDERED in the Southern District of Florida on November 13, 2024.




  cc:     counsel of record




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